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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                               CRIMINAL ACTION

VERSUS                                                 NO. 98-057

DONALD DYER                                            SECTION: “B”

                              ORDER AND REASONS


     Considering defendant Donald Dyer’s Moton for Compassionate

Release (Rec. Doc. 493), the government’s response (Rec. Doc. 503),

and defendant’s reply (Rec. Doc. 504),

     IT IS ORDERED that the motion (Rec. Doc. 493) is DENIED.

     A motion to reduce sentence under 18 U.S.C. § 3582(c)(1)(A)

may be granted only if filed “after the defendant has fully

exhausted all administrative rights to appeal a failure of the

Bureau of Prisons to bring a motion on the defendant’s behalf or

the lapse of 30 days from the receipt of such a request by the

warden of the defendant’s facility, whichever is earlier. . . .”

18 U.S.C. § 3582(c)(1)(A). If the defendant can show that he

exhausted      all   administrative     remedies,    the   court    considers

relevant factors set out in 18 U.S.C. § 3553(a) 1, and may reduce

the defendant’s term of imprisonment upon a finding that “(i)

1
 The relevant factors to consider under §3553(a) are: 1) the nature and
circumstances of the offense and the history and characteristics of the
defendant; 2) the need for the sentence to reflect the severity of the crime,
promote respect for the law, provide just punishment, afford adequate
deterrence, protect the public, and provide the defendant with needed
education, training, and medical care; 3) other pertinent policy statements
from the Sentencing Commission; 4) the need to avoid unwarranted disparities
among like defendant; and 5) the need for restitution. 18 U.S.C. § 3553(a).

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extraordinary and compelling reasons warrant such a reduction” and

“(ii). . .such a reduction is consistent with applicable policy

statements issued by the Sentencing Commission.” Id.

     The Sentencing Commission issued relevant guidance describing

circumstances     that     constitute       “extraordinary    and   compelling

reasons” to reduce a sentence: 1) medical condition(s) of the

defendant, 2) age of the defendant, 3) family circumstances, or 4)

other reasons as determined by the Director of BOP. Reduction in

Term of Imprisonment Under 18 U.S.C. §3582(c)(1)(A) (2018), U.S.

SENTENCING COMMISSION, § 1B1.13.

     Where the defendant seeks compassionate release on the basis

of   his    underlying     medical      conditions,       “extraordinary     and

compelling” reasons exist when the defendant, who does not pose a

danger to the community, is suffering from a terminal illness 2, a

serious    physical   or   medical   condition,     serious    functional    or

cognitive impairment, or experiencing deteriorating physical or

mental health because of age that substantially diminishes the

defendant’s    ability     to   provide      self-care.    United   States    v.

Henderson, No. 11-271, 2020 WL 2850150, at *2 (E.D. La. June 2,

2020) (Milazzo, J.) (citing U.S.S.G. 1B1.13).

     At the time of his motion for compassionate release, defendant

was fifty-two years old and serving a 320 months sentence in Yazoo


2
  The Sentencing Commission included the following examples of a “terminal
illness”: metastatic solid-tumor cancer, amyotrophic lateral sclerosis (ALS),
end-stage organ disease, and advanced dementia. See U.S.S.G. 1B1.13.

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City   Medium    FCI   after     pleading         guilty   to   participating      in   a

conspiracy to possess with intent to distribute heroin. Defendant

has served twenty-two years of his sentence and is projected to be

released on April 21, 2022. Defendant has a lengthy criminal

history—including violent crimes—dating back to his youth. He also

has a lengthy history of disciplinary infractions while in prison.

As   recently    as    2018,     he    has       been   disciplined   for      multiple

infractions     including      fighting          with   other   inmates,    possessing

unauthorized items, and drug use.

       Although defendant exhausted his administrative remedies, he

nevertheless      failed    to    establish         eligibility     for    a   sentence

reduction. Defendant filed a request for compassionate release on

July 21, 2020 and was denied relief on August 16, 2020. Rec. Doc.

493 at 4-6. He subsequently filed the instant motion on August 31,

2021. Defendant asserts he has a history of “chronic asthma,” but

fails to detail the nature of his condition and whether he faces

a “significantly higher risk” than the rest of the general inmate

population. See Thompson, 984 F.3d at 434. Defendant’s general

fear of COVID-19 and his asthma diagnosis are insufficient to

constitute      extraordinary         and    compelling     reasons    to      reduce   a

sentence. United States v. Collins, No. 10-067, 2021 WL 1564410 at

*1 (E.D. La. April 20, 2021).

       Moreover, defendant has produced no credible medical evidence

to support his claim. According to the government, BOP provided

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copies of defendant’s medical records for the last two years and

there was no mention of asthma or any other disease or medical

condition that constitutes a CDC risk factor for COVID-19. Rec.

Doc. 503 at 15. See, e.g., United States v. Michele, No. CR 13-

160, 2020 WL 4676327, at *5 (E.D. La. Aug. 12, 2020) (determining

that asthma was        not    extraordinary     and    compelling     where   the

defendant's “medical records do not reflect that he has ever been

treated for asthma or complained of respiratory problems”); United

States v. Sonnier, No. CR 14-168, 2020 WL 4601638, at *3 (E.D. La.

Aug.    11,     2020) (finding    a     generalized    claim   of    “asthma and

respiratory       conditions”    insufficient     where    “the     BOP   medical

records    do    not   reflect   that    they   have   manifested    while    [the

defendant] has been in BOP custody.”).

       Considering      the    aforementioned      §   3553(a)      factors    and

defendant’s lack of evidence demonstrating an extraordinary and

compelling reason to reduce his sentence, a release at this time

has not been shown to promote respect for laws and afford adequate

deterrence to criminal conduct.

       New Orleans, Louisiana this 7th day of June, 2021



                                        ___________________________________
                                        SENIOR UNITED STATES DISTRICT JUDGE




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